                     Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 1 of 34 PageID #:1


AO 91 (Rev. 11/l-1) Criminal Complaint                                       AUSA Sean K. Driscoll (312) 469-6151
                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION

UNITED STATES OF AMERICA

                       V.
                                                        CASE NUMBER:
                                                        UNDER SEAL
                                                                            / i cL tlrl
ANDREW MAHN

                                         CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and
belief.
Beginning no later than August 7, 2020 and continuing until at least October 16, 2020, in the Northern
District of Illinois, Eastern Division, and elsewhere, the defendant(s) violated:
     Code Section                                    Offense Desuiption

     Title 18, United States Code, Section           intentionally accessed a computer without
     1030(a)(2)(C)                                   authorization and obtained information from a
                                                     protected computer


     This criminal complaint is based upon these facts:                                  W\b
      X Continued on the attached sheet
                                                          [nrrni,nr
                                                          DAMIEN COLON
                                                                          t'lrrr @
                                                          Special Agent, Federal Bureau of Investigation
                                                          (FBI)

Pursuant to Fed. R. Crim. P. 4.1, this Complaint is presented by reliable electronic means. The above-
named agent provided a sworn statement attesting to the truth of the Complaint and Affidavit by
telephone.

Date: March 17.2021
                                                                                's signature


City and state: Chicaoo- Tllinois                       YOUNG B. KIM. U.S. Magistrate Judge
                                                                   Printed nanle and title




                    FILED
                     l'lAR 17 2t2l

                 MAGISTRATE JUDGE
                   YOUNG B. KIM
           Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 2 of 34 PageID #:2




UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

                                    AFFIDAVIT

      I, DAMIEN COLON, being duly sworn, state as follows:

      1.      I am a Special Agent with the Federal Bureau of Investigation. I have
been so employed since approximately May 2015. As part of my duties as an FBI

Special Agent, I investigate criminal violations relating to computer network

exploitation, unauthorized access to computer networks, economic espionage, theft

of trade secrets, and wire fraud. I have participated in the execution of multiple

search warrants.

      2.      This affidavit is submitted in support of a criminal complaint alleging

that ANDREW MAHN has violated Title 18, United States Code, Section
1030(a)(2)(C). Because this affidavit is being submitted for the limited purpose of

establishing probable cause in support of a criminal complaint charging MAHN

with obtaining information from a protected computer without authorization, I have

not included each and every fact known to me concerning this investigation. I have

set forth only the facts that I believe are necessary to establish probable cause to

believe that the defendant committed the offense alleged in the complaint.

      3.     The statements in this affidavit are based on my personal knowledge,

interviews of victims, records provided by multiple internet service providers,

search warrant results, and on information I have received from other law

enforcement personnel and from persons with knowledge regarding relevant facts.
            Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 3 of 34 PageID #:3




                                      SUMMARY

       4.      As detailed below, an international company located in the Northern

District of Illinois ("Company A') was the victim of a cyber attack in which a then-

unidentified cyber actor (the "UCA') gained unauthorized access to Company A's

computer network beginning on or about September 28, 2020. After obtaining

access to Company A's computer network, the UCA made changes to Company A's

active directory,l navigated to servers that hosted applications used to develop and

store Company A software source code, elevated privileges, and exfiltrated sofbware

source code. According to Company A, the exfiltrated source code was integrated

into Company A communication devices and used to unlock features on its
communication devices. Based on Company A network logs, agent interviews of

Company A employees, and records provided by multiple internet service providers,

including search warrants for Google search history, there is probable cause to

believe that the UCA is ANDREW MAHN, a former Company A employee.

                    FACTS SUPPORTING PROBABLE CAUSE

            a. The Spear-phishing Attaclz on Company A
       5.      According to Company A, during the initial phase of the cyber attack,

the UCA sent spear-phishing emails to thirty-one unique Company A employee

email addresses in four waves from August 7, 2020 through September 29,2020.


l According to techtarget.com, and based on my training and experience, the main service
offered by active directory is domain services. Domain services verifu access when a user
signs into a device or attempts to connect to a server over a network. Active Directory
Domain Services controls which users have access to each resource, like a fiIe or
application.
            Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 4 of 34 PageID #:4




       6.      More specifically, the spear-phishing emails sent from noreply@comm-

[Company A abbreviation].com (Subject Account 4)2 ostensibly prompted recipients

to log into their Company A accounts and provided a hyperlink that led to a fake

Company A login page hosted at Subject Account 1 (comm-[Company A

abbreviationl.com).

       7.      In my review of search warrant results for Subject Account 4, I
observed numerous spear-phishing emails, including this example:3

       eTime lJser,
       There is a task awaiting your approval in ADP PayroII (eTime). Please
       click here
       hxxps://comm- [Company                  A                  abbreviationl
       [.] com/oamprod/employee lo gin_new/re que st id24868 1 8476 35857 427 5 I
       to log into eTime and view the message. Your prompt attention is
       appreciated.

       Message Subject: Approvals Pending
       Notification Date: 817 12020
       Regards,
       [Company A] Payroll Team.

       8.      According to a report from Company A's Enterprise Information

Security Team ('EIS Team"), the fake login page linked to in the email above

contained both "IJser ID" and "Password" fields. Additiona1ly, Company A kept


2 On October 30, 2020, the Honorable Jeffrey Cummings, U.S. Magistrate Judge for the
United States District Court for the Northern District of Illinois, issued a warrant (20 M
571) to NameCheap, fnc. for the search of a domain and corresponding email addresses
associated with UCA activity, namely comm-[Company A abbreviation].com ("Subject
Account 1"), mail-comm-[Company A abbreviation].com ("Subject Account 2"), sds@comm-
[Company A abbreviation].com ("Subject Account 3"), noreply@comm-[Company A
abbreviation].com ("Subject Account 4"), and harper@comm-[Company A abbreviation].com
("Subject Account 5").
3 In excerpts throughout this affidavit, "hxxps" has been substituted for "https" to prevent
accidental loading by a web browser.



                                             3
            Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 5 of 34 PageID #:5




internal network logs (provided to the FBI by the EIS Team) which documented

Company A employees' receipt of the spear-phishing emails, the UCA's attempts to

log into Company A's network using spear-phished credentials, and Company A

employees who entered their data into the fake landing page. According to these

logs, at least five of the spear-phishing email recipients input their Company A

employee credentials into the fake login page.

       9.      According to Company A, after harvesting Company A employee login

credentials via the fake login page, the UCA contacted at least one of the spear-

phishing email recipients via text messages using +12242768645 ("Subject Phone

1"). (Company A provided the FBI with screenshots of these text messages, as

discussed further below, which I have also reviewed.) According to Google records,

Subject Phone 1 was a Goog1e Voice number associated with the Goog1e Account ID

8632661364G (Subject Account 6), which was registered using Subject Account 5

(harper@comm-[Company A abbreviation].com).4 According to Company A, and as

confirmed by my review of the messages, the text messages were intended to

socially engineers a Company A employee ("Individual B") into providing a multi-

factor authentication code, which when combined with Individual B's username and

password, would allow the UCA to gain access to Company A's computer network.

According to Company A, the UCA obtained Individual B's multi-factor

a Subject Account 6 was also included in the search warrants issued on October 30,2020.

5 According to csoonline.com, and based on my training and experience, social engineering
is the art of exploiting human psychology, rather than technical hacking techniques, to gain
access to buildings, systems, or data. For example, a social engineer might call an employee
and pose as an information technology support employee within their organization to trick
the employee into divulging his/her password.



                                             4
          Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 6 of 34 PageID #:6




authentication code on or about September 28, 2020. Company A obtained

screenshots of some of these messages from at least one of the employees who

received these spear-phishing emails and related text messages. The following

messages, contained in the EIS Report, are examples of text messages sent from

Subject Phone 1 to a Company A employee:

      Reminder: [Company A] Okta Periodic Security Verification: Verifir
      this phone for your [Company A] Okta access. Reply YES if this phone
      is still assigned to [Company A employee]. Reply NO to de-Iink this
      phone from [Company A employee].

      Okta Message: We're having issues verifring you. If you're unable to
      verifi, your phone now, we'II automatically try again later (Code 410).

      No response received. Please reply to this conversation with the 6-8
      digit code sent to your mobile device. We'lI try again in a moment, or
      later if the process cannot be completed at this time.

      10. According to Subject Account 4 email search warrant results,
Individual B previously received emails from Subject Account 4 that appeared to

prepare him for receipt of UCA text messages relating to Company A network

authentication. For example, on September 2, 2020, Individual B received the

following email:

      Okta Single - Sign- O n (S S O) Verification Notice
      AII Okta users will receive with in the next 14 days a text message
      from the Okta verification service. This text message will originate
      from an Illinois area code for US-based employees. This text message
      confirms your two-factor device is still in use and is assigned to the
      user it was originally registered to. Response to this text message is
      required or your device will be unregistered and you will be unable to
      access [Company A] VPN services without re-registering via your
      directory supervisor's account. When the text message arrives, follow
      the prompts. You will be sent a 4-8-digit code. This code must be sent
      back to the verification service via text message to confirm your
      account...
         Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 7 of 34 PageID #:7




      11. According to Company A network logs detailing the UCAs activity on
its network ("EIS Logs"), after gaining full access to Individual B's Company A
account, the UCA added phone numbers to Individual B's user profiIe, which

permitted the UCA to have persistent access to the Individual B's account through

phone numbers controlled by the UCA. As a result of these profi.le changes, two-

factor authentication codes were then sent to UCA-held phone numbers rather than

to the Company A employee.

      t2.     According to Company A, the UCA's familiarity with Company A's

network infrastructure and applications was apparent based on the content of the

spear-phishing emails and the content of the fake login page. More specifically, the

spear-phishing emails sent from Subject Account 4 referenced and included the logo

for a communication application developed and utilized by Company A. Further, the

subject lines of the spear-phishing emails referenced legitimate communication

application workgroups within Company A. Last1y, according to Company A, the

fake login page resembled a legitimate login page last utilized by Company A in

approximately 2018 (which, as discussed below, is when MAHN last worked for

Company A).

      13. According to Company A, the UCA's familiarity with Company A's
computer systems was also evidenced by the UCA s navigation to servers hosting

Company A software code and tools, specifically a code management and source




                                         6
          Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 8 of 34 PageID #:8




code repository hosting service named Bitbucket,6 shortly afber gaining access to its

network, as opposed to more generalized reconnaissance of Company A's network.

More specifically, the UCA exfiltrated source code that is used, among other things,

to unlock features on Company A communication devices that normally require
additional payments for this software.

          b. The EIS Team Obserued the UCA's Use of a Comcast IP Address otl
              September 28, 2020 arud October 73, 2020

       14. According to the EIS Logs, the UCA s changes to Individual B's
                           I



account profile (namely the addition of UCA controlled phone numbers for two-

factor authentication), occurred between 2l:15:54 Universal Coordinated Time

(UTC) and 21:30:26 UTC on September 28,2020. According to the EIS Logs, the IP

addresses associated with this activity were L8.216.71.43 and 73.149.4.46.

According to an open source Whois query for IP addresses L8.2L6.7t.43 and

73.149.4.46, these IP addresses resolved to Amazon Web Services ("AWS") and

Comcast, respectively.

       15. According to the EIS Logs, IP address 18.216.7t.43 (the "AWS IP", or
Subject Account 8X was identified as associated with UCA activity on September


6 According to Bitbucket's parent company website, Bitbucket is a Git repository
management solution designed for professional teams. Bitbucket gives users a central place
to manage Git repositories, collaborate on source code, and guides users through the
development process.
7 On December 30, 2020, the Honorable M. David Weisman, U.S. Magistrate Judge for the
United States District Court for the Northern District of Illinois, issued a warrant to AWS
for the search of Subject Account 8 and to Google for the search of an email account
subscribed to "Andrew Mahn," namely andrewmahn@gmail.com ("Subject Account 7") (20l|d
680 & 681).
          Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 9 of 34 PageID #:9




28, 2020 during the period 2l:15:54 UTC through 22:15:44 UTC. According to the

EIS Logs, the IP address 73.I49.4.46 ("Comcast IP") was identified as associated

with UCA activity, specifically the activation of a new authentication factor for
Individual B's Company A account, on September 28,2020 at 2l:30:26 UTC.

       16. As detailed in the EIS Logs, the Comcast IP was associated with UCA
activity again on October 13, 2020 fuom 17:26:55 UTC through L8:14:43 UTC; the

hostnames associated with this session was 'DESKTOP-J022HTC.' Notably,

according to the EIS Logs, this hostname was first observed as associated with UCA

activity on September 28, 2020, the first day of the cyber attack, at 22:3L:46 UTC,

or approximatel5z one hour afber the UCA first used the Comcast IP.

          c. The Comcast IP Was Linhed to MAHN's Logins to Company A's
             External Websites Prior to and During the Cyber Attacle

       17. According to Company A, an examination of Company A network logs
revealed previous use of the Comcast IP to authenticate to Company A's externally

hosted customer website during the period in which the UCA was sending spear-

phishing emails to Company A employees and in the days preceding the EIS Team's

mitigation of the cyber attack. The user credentials associated with these logins was

" amahn@[Entity A] . com."


       18. According to Apple subscriber records for an Entity A cellular phone
registered to MAHN, the email account amahn@[Entity A].com was used by MAHN.


8 According to techterms.com,  and based on my training and experience, a hostname is a
label that identifies a hardware device, or host, on a network. Hostnames can be modified
by users, and the manner in which this is done varies based on a user's operating system
software.



                                           8
           Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 10 of 34 PageID #:10




According to Company A, MAHN was formerly employed by Company A as a

technician until approximately 2018, and was currently employed by Entity A. As

part of his job at Entity A, MAHN purchased communications products from
Company A on behalf of Entity A and regularly emailed with several Company A

employees, including Individual B (one of the victims of the spear-phishing attack

discussed above).

      19. On or about November 9, 2020, Company A provided the FBI with
email correspondence between MAHN and Company A employees. In these emails,

MAHN communicated with Company A employees (using amahn@[Entity A].com)

regarding part orders, Iicense entitlements for Company A software products, and

the programming of Company A devices.

      20. According to Company A records, MAHN's Company A customer
account, which required authentication via an identity management solution named

Okta,e was registered on or about August L6, 20L9. According to Company A,

anyone could create a Company A customer account. Creating such an account

allowed users to view previous orders, manage previous orders, participate in blogs,

and obtain information about Company A's products. According to Company A, in

this respect, Company A's external website functioned much like an E-commerce
website.




e According to its website, Okta is an identify management service solution that provides
secure identity management with multi-factor authentication. Okta helps companies
manage and secure authentication into applications.



                                            I
        Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 11 of 34 PageID #:11




      21. According to the EIS Logs, and supplementary computer network logs
provided by the EIS Team ("Supplementary Logs"), MAHN used the Comcast IP to

authenticate to Company A's external website and navigate to various Company A

webpages, like 'business.[Company A].com', on August 16, August 17, August 22,

August 24, August 26, August 28, August 31, September 2, September 3, September

16, October 14, October 15, and October 20, 2020-which is before and during the

time period of the cyber attack.

      22. According to logs for Company A's external website, MAHN used the
Comcast IP in the days preceding the cyber attack and during the period of the

cyber attack, which occurred during the period September 28, 2020 through

approximately October 25, 2020. According to the EIS Logs, MAHN logged into

Company A's external website (using his amahn@[Entity A].com account) with the

Comcast IP on October 14, 2020 at 22:26l.L3 UTC, or approximately thirty hours

after UCA activity was associated with the Comcast IP on October 73,2020.

      23. Notably, according to records from Google, approximately one day
before on October 13, 2020 at 16:37:59 UTC, the UCA also logged into Subject

Account 6 using the Comcast IP, or within approximately nineteen seconds of the

UCA s observed activity on Company A's network. As discussed above, Subject

Account 6 is the Google account associated with the Google Voice phone number

used to socially engineer Individual B into giving up his Company A two-factor

authentication code.




                                        10
        Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 12 of 34 PageID #:12




         d. The User Agent Strings Associated with MAHN's Logins to Company
            A's Customer Website Match Those of the UCA During AWS Account
            Login

      24. As detailed above, according to Company A, the UCA s first successful
authentication to Company A's network using Individual B's stolen credentials

occurred on September 28,2020. According to the EIS Logs, the UCA's first activity

on Company A's network utilized the AWS IP (Subject Account 8).

      25. According to subscriber records from AWS, the AWS account had
Account Number 878801018737, and was registered with apparently fictitious

information: the company name "commmot," a Homer GIen, Illinois address that

appears to be for a small network design company, Company A CEO's fi.rst and last

name, and email address "notification@comm-[Company A abbreviation].com."

According to NameCheap records, this subscriber information matched subscriber

records for Subject Account 1, which is the NameCheap domain used to send spear-

phishing emails to Company A employees beginning on August 7, 2020. (Notably,

according to AWS Account subscriber records, Subject Account 8 was created on

August 7,2020.)

      26. As detailed above, MAHN authenticated to Company A's customer
website using the Comcast IP in the period before and during the cyber attack.

According to the EIS Logs and the Supplementary Logs, specifically the web

application firewall logs, there were approximately twenty-eight instances during

the period August 22, 2020 through November 26, 2020 in which the user agent




                                        11
          Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 13 of 34 PageID #:13




stringlo "Amazon CloudFront" was identified as the user agent string associated

with (1) MAHN's authentications and/or web traffic originating from the Comcast
IP and (2) a second IP address used by MAHN, namely 65.96.153.157.

        27. Accord.ing to logs produced by AWS, the UCA logged into Subject
Account 8's user console on August 7, 2020 at 12:40:52 UTC using IP address

173.0.77.12. The following user agent string was associated with this login:

       Mozilla/5.0 @indows NT 10.0; Win64; x64; rv:79.0) Gecko/20100101
       Pirefox/79.0

       28. According to the EIS Logs, approximately nine days later, on August
16,2020 at 22:25:53 UTC, MAHN authenticated to Company A's external customer

website using the Comcast IP. The following user agent string was associated with

this login:

       Mozilla/5.0 (Windows NT 10.0; Win64; x64; rv:79.0) Gecko/20100101
       Firefox/79.0

       29. As detailed above, the user agent string associated with the UCA's
Iogin to Subject Account 8 is an exact match for the user agent string associated

with MAHN's logins to Company A's customer website on August 16,2020.

       30. Also according to the AWS Logs, the user agent string associated with
the Subject Account 8 user console login on August 14,2020 was as follows:

       Mozilla/5.0 @indows NT 10.0; Win64; x64; rv:79.0) Gecko/20100101
       Firefox/79.0

10 According to open sources, and based on my training and experience, a user agent string
is an alphanumeric string that identifies the agent or program making a request to a web
server for a resource, like a webpage or file. The user agent string contains the user
application or software, the operating system and their versions, web client, web client
version, and the engine responsible for the content display.



                                           t2
         Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 14 of 34 PageID #:14




      31. As referenced above, according to the EIS Logs, this user agent string
is an exact match for MAHN's authentication to the Chicago Company's customer

website two days later on August 16,2020. While a user agent string is not a unique

identifi.er, based on my training and experience, identical user agent strings

correlated with additional known identifiers can be used to characterize and

attribute activity on a network to a specific cyber actor.

          e. The Corncast IP and other IP Ad,dresses Used by the UCA Durirug the
             Cyber Attack, Were UTed to Log iruto Subject Account 6

      32. As noted above, on October 30,2020 the Honorable Jeffrey Cummings,
U.S. Magistrate Judge for the U.S. District Court for the Northern District issued a

search warrant for Subject Account 6. According to records produced by Google in

response, Subject Phone 1 (a Google Voice phone number) was associated with

Subject Account 6. According to Google login records, the UCA logged into Subject

Account 6 with nine unique IP addresses during the period August 8, 2020 through

October 13,2020. According to the EIS Logs and logs for Subject Account 8, most of

these IP addresses were associated with UCA activity during the cyber attack.

      33. For example, according to Google login records, the UCA logged into
Subject Account 6 using IP address 194.99.105.76 on October L2,2020. A query of

the EIS Logs for this IP address revealed it was associated with UCA activity on

Company A's network on October 12, 2020 between 10:55:55 UTC and 20:05:22

UTC. The hostname associated with this activity was DESKTOP-J022HTC.
According to the EIS Logs, this hostname was also linked to UCA activity on




                                           13
        Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 15 of 34 PageID #:15




October 1,3, 2020 at 17:2655 UTC. Notably, the IP address associated with this

activity was the Comcast IP.

      34. Further, according to Google login records, the UCA logged into
Subject Account 6 using the Comcast IP on October 13, 2020 at 16:37:59 UTC.

According to the EIS Logs, the UCA used the Comcast IP to log into Company A's

network on that date at 00:48:37 UTC.

        f. Subject Account 6's search history Supports MAHN Being the UCA
      35. The Google search warrant production for Subject Account 6 (the
Google account linked to the Google Voice number involved in the spear-phishing

campaign against Individual B) also included search history for Subject Account 6.

The search history identified both search terms used by the UCA and hyperlinks for

sites visited by the UCA from Google searches.

      36. A review of the search history revealed the UCA performed searches
for information related to various stages of the cyber attack after logging into
Subject Account 6. For example, according to the search history:

      On August 31, 2020, the UCA searched for "(224) 276-8645 Change Transfer
      Delete." Notably this is the phone number for Subject Phone 1 (the Google
      Voice number of Subject Account 6 that was used as part of the spear-
      phishing attack).
      On September 28, 2O2O at 2l:37:49 UTC, the day the UCA gained initial
      access to Company A's network using Individual B's stolen credentials, the
      UCA searched for "okta default method." (As discussed above, Okta provided
      two-factor authentication for Company A's network.)
      On October 2,2020, the UCA searched for "bitbucket clone all" and visited a
      stackoverflow.comls forum webpage titled "How to clone all git bitbucket
      repositories with a single script - Stack..." According to Company A, shortly
      afber gaining initial access to Company A's network, the UCA navigated to a
      source code repository and code management solution employed by Company
      A named Bitbucket.



                                         L4
           Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 16 of 34 PageID #:16




   . On October 3, 2020, the UCA searched for "comm-[Company A
       abbreviation].com" (which is Subject Account 1, the website hosting the fake
       Company A login page used in the spear-phishing attack).

       37. As detailed above, the aforementioned searches were consistent with
information previously provided by Company A pertaining to the cyber attack.

However, the search history also contained UCA search history that, based on

MAHN's employment records, Company A external website navigation associated

with MAHN's username amahn@[Entity A].com, and historical email
correspondence between MAHN and Company A employees, appeared to identifr

MAHN as the operator of Subject Account 6. For example, according to the search

history:

       On October 3,2020 at L3:L4:22UTC, the UCA visited a website titled "ECAT
       online and/or Price options for [Company A device family ("Device Family
       1")]- Communications..." As part of the investigation, I viewed that webpage,
       which was a "communications.support" forum titled "ECAT online and/or
       Price options for [Device Family 1]." The first post in that thread referenced
       Device Family 1, model 7000.
       On Octob er 7 , 2020 at 23:40:49 UTC and 23:40:53 UTC, respectively the UCA
       searched for "cfx256" and visited another communications.support forum
       thread titled "CFX-256 encryption and Localized enable encryption."

       38. MAHN's activity on Company A's external website also included
connections to the communications.support forum. More specifically, according to

the EIS Logs, communications.support was identified as a unique referrerll
associated with MAHN's login credentials and the Comcast IP. The referrer URL

appearing in the EIS Logs was https://communications.support/threads/19125-5-


rr According to open sources, and based on my training and experience, refenal traffic is
akin to a recommendation from one website to another. Referral traffic is used to denote
incoming traffic on a website as a result of clicking on a URL on another site.



                                           15
         Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 17 of 34 PageID #:17




year-warranty-breaks-[Company A]-FW-upgrade-policy?p\+127869 and was

associated with a Company A customer account session beginning with MAHN's

authentication on September 2,2020 at 16:31:51 UTC using the Comcast IP.

       39. Additionally, a query of the EIS Logs for those events referencing
Device Family 1 and associated with MAHN's Company A customer account

username amahn@[Entity A].com returned 136 GET12 request events referencing

Device Family 1. Further, the communciations.support forum page named a

specific model of Device Family L, namely "7000." According to email

correspondence provided by Company A, on April 24, 2019, a Company A employee

emailed MAHN at amahn@[Entity A].com. In her email to MAHN, with subject Iine

"[Device Family 1] 7000," Company A employee wrote:

      Hello Andrew, The depo received the [devices] and repair line would like to
      find out what type of encryption keys should depot load back and return so
      the can be follow [sic] and proceeding accordingly. thank you.

       40. On October'1,2020, the UCA also performed a search for "(914)
[redacted] -2023" and "914 area code." According to Accurint ReaI Time Phone

records and Company A employment records, that phone number was used by

MAHN's former manager at Company A.

       4L. Other searches in Subject Account 6 place the UCA in the same
geographic area as MAHN's residence and workplace. For example, according to the

search history, on October 3, 2020 at 01:18:01 UTC, the UCA searched for "03301


12 Accordingto codeacademy.com, and based on my conversations with experienced FBI
agents, a GET request is an HTTP request to a server to retrieve a specific resource, like a
webpage it should display.



                                            16
         Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 18 of 34 PageID #:18




weather." According to the U.S. Postal Service's website, 03301 is the zip code for

Concord, New Hampshire. Additionally, on October 72,2020 at 2I:08:42 UTC and

2L:08:46 UTC, the UCA searched for "boston weather." According to Entity A's

website, Entity A is located in Boston, Massachusetts.

          g. The UCA Interacted with Company A Systems of Which MAHN Had
              Direct Knowledge and Interacted utith in His Position, at Entity A

      42. According to Company A, service depots were provided with Company
A software tools (the "Depot Tools") that enabled them to service Company A
devices. Company A provided Depot Tools for every generation of Company A

device. Company A's control of Depot Tools was achieved through Flexera software

licensing-namely, a Flexera license was needed to operate a Depot TooI. Further,

according to Company A, the Depot Tool was run on a host computer, which was

connected to a device via a programming cable.

       43. According to Company A, during the cyber attack, the UCA stole a
Depot Tool used to unlock features on Company A devices that were manufactured

in or prior to 2017. This limitation existed because the Depot Tool stolen by the
UCA was only compatible with Company A firmwarel3 released prior to 2018.

According to Company A, post-2017, licensing was handled via a newer web-based

Depot Tool.

       44. According to Company A records, the UCA logged into Company A's
network on October L'|,2020 and, using stolen credentials, created a nine-year


rs ,According to techterms.com, and based on my conversations with experienced FBI agents,
firmware is a software program or set of instructions programmed on a hardware device.



                                            t7
         Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 19 of 34 PageID #:19




Iicense for the aforementioned Depot Tool. According to Company A, this license

allowed the UCA to unlock certain features on an unlimited number of Company A

radios for nine years, or until 2029. Company A normally sells these software

features at a price of up to $175 per radio. Further, according to Company A,

because firmware on Company A devices could be downgraded, the UCA could

theoretically d"owngrade newly manufactured Company A devices to earlier

firmware to unlock device features using the stolen Depot Tool.la

       45. According to a Company A manager ("Individual D"), and based on
prior email correspondence in which Individual D and MAHN were participants,

MAHN was responsible for radio management and would be familiar with how

Company A licenses its Depot Tools. Based on that correspondence, it appeared

MAHN had specific knowledge regarding Device Family 1 licensing. According to

Individual D, in Company A email correspondence involving Individual D and

MAHN, using amahn@[Entity A].com, MAHN inquired about past-due licensing

and capacity licenses relating to a device management software used to manage

Device Family 1. According to Individual D, Individual D was included in email

correspondence dated September 7, 20L9 to MAHN, using amahn@[Entity A].com,

in which Entity A was emailed Device Family 1 licenses that it purchased from



la Additionally, according to Individual D, also on October L7, 2020, the UCA accessed
Company ,{s Flexera server and registered seven feature entitlements on a Company A
radio with a known serial number. According to Company A, that radio was originally sold
to a United Kingdom-based workforce communication and security solution company.
However, according to Individual D, subsequent resales or transfers of radios would not
necessarily be noted in Company A records.



                                          18
         Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 20 of 34 PageID #:20




Company A. These licenses permitted Entity A to expand its Device Family 1 radio

management by 2,000 additional devices.

       46. Additionally, according to Company A, in 2017 a Company A employee
("Individual C") received an email from MAHN's former Company A manager

requesting access to a web-hosted Depot Tool that eventually supplanted the Depot

TooI stolen by the UCA. MAHN's former manager requested this access for MAHN.

Individual C assessed MAHN likely had familiarity with Company A Depot Tools

based on his granted access to the new web-based Depot TooI in 2017 while still

employed by Company A.

      47. As detailed above, MAHN engaged in regular email correspondence
with multiple Company A employees. This correspondence included Individual B
and others targeted by the UCA during the spear-phishing campaign. According to

emails from Company A, MAHN, using amahn@[Entity A].com, received or was

carbon-copied on emails in which Company A sent licensing information or

entitlement IDs for specific Company A products.

          h. The Comcast IP Connects MAHN to the Cyber Intrusion,
       48. According to subscriber records provided by Comcast, the Comcast IP
was assigned to a customer named'Susan Hart' during the period August L3,2020

through August 23, 2020 and was registered with the email address
mycircuits@protonmail.com.ls As detailed above, MAHN used the Comcast IP to




15 According to NameCheap records, Subject Account 1 (the domain used to create the email

account used to spear-phish Company A employees, or Subject Account 4), was registered


                                           19
         Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 21 of 34 PageID #:21




authenticate to Company A's customer website using the credentials

amahn@[Entity A].com beginning on August 16, 2020, or during "Susan Hart's"

lease term. Also according to Comcast subscriber records, "Susan Hart" was

assigned another IP address (73.4.28.180) from August 13, 2020 at 23:49:49 UTC

through August 15,2020 at 19:30:00 UTC.

       49. Additionally, at least two of MAHN's personal accounts were accessed
using the second "Susan Hart" IP address (73.4.28.180). According to transaction

records provided" by Venmo for MAHN's Venmo account registered with Subject

Account 7 (andrewmahn@gmail.com), MAHN initiated two transfers to his Venmo-

Iinked bank account on August 9, 2020 using IP address 73.4.28.180. Similarly,

according to Google records for Subject Account 7 (andrewmahn@gmail.com),

MAHN also logged in using IP address 73.4.28.180 on August 9,2020 at 2L:42:29

UTC.

       50. According to Comcast subscriber records, the service address for Susan
Hart's Comcast account was listed as 50 Main St., Unit 1, Winthrop, MA 02L52.1G

According to Accurint records, Susan Hart was associated with an address in

Winthrop, Massachusetts. However, public and government records available via

Accurint, and a query of Massachusetts records conducted by the FBI's Boston,



with mycircuits@protonmail.com, which matched the registration email used to register
"Susan Hart's" account.
16As detailed above, according to Accurint records and emails from the electricity and
natural gas provider National Grid sent to Subject Account 7, MAHN resided on Edgehill
Road in Winthrop, MA (the "Winthrop Address") during the time period of the UCA spear-
phishing campaign and cyber attack.



                                         20
          Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 22 of 34 PageID #:22




Massachusetts offi.ce on or about November 3, 2020, returned no other records for

an individual named Susan Hart residing at that address.

       51. According to a Comcast employee, Comcast was unable to locate a
Iessee of the Comcast IP during the period August 23, 2020 through October 28,

2020 despite MAHN's use of the Comcast IP in August, September, and October

2020 to log in to Subject Account 7. According to Comcast's Xfinity website, an

individual can obtain Comcast Internet service and verifu a Comcast account via an

online registration process. Therefore, it appears that MAHN used a fictitious

person ("Susan Hart") to register internet service in an attempt to anonymize his

online activity.

           i. Funds Used to Pay for the UCA NameCheap Spearphishing Account
               Originated from MAHN

       52. As detailed above, the UCA created a NameCheap account on August
6, 2020 at 19:08:36 UTC which hosted the domain comm-[Company A
abbreviation].com and multiple email addresses (Subject Account 2, Subject

Account 3, and Subject Account 4) used to spear-phish Company A employees and

exfiltrate credentials from Company A's network.l7 According to NameCheap
records, on August 6, 2020 at 23:L8:20 UTC, NameCheap recorded a transaction

notated        as
                     ..DEPOSIT       BITPAY'       with     transaction      number

17 According to the EIS Report, after gaining accessto a Company A server, the UCA
changed its configuration to collect and then emaif user credentials and passcodes to
sds@commr[Company A abbreviation].com. A review of search warrant production for the
Namecheap account revealed tens of examples of the UCA receiving emails from
sds@[Company A].com (Subject Account 3), with x-mailer "ColdFusion 9 Application
Server," containing the username and passwords of Company A employees with access to
that server.


                                          2t
         Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 23 of 34 PageID #:23




FMgHZ132V6iBd327eX6LGn           in the amount of $26.15. According to Bitpayta
records, the transaction date and time associated with this transaction number was

August 6,2020 at 23:18:18 UTC. The merchant identified was "Namecheap.com."

       53. According to Google search history records for Subject Account 7
(andrewmahn@gmail.com), MAHN performed a search for "blockchain" on August 6,

2020 at 23:12l.47 UTC, and then visited Blockchain.com approximately two seconds

later. This search occurred approximately six minutes before the UCA-now
believed to be MAHN-paid for the NameCheap account used to conduct the

spearphishing attack on Company A.

       54. Relatedly, according to Google email records for Subject Account 7
(andrewmahn@gmail.com), MAHN received an email at Subject Account 7 from

Blockchain.com, email address noti$z@wallet-tx.blockchain.com,         with subject Iine
"Authorize log-in attempt." The email contained the following message:

      Authorize Log In Attempt
      An attempt to login to your Blockchain wallet was made from an unknown
      browser. Please confi.rm the following details are correct:
      Time: 2020-08-06 23:15:31 GMT IUTCI
      Browser: Firefox 7
      Operating System: Windows 10.

       55. As highlighted by the above email, MAHN logged into his Blockchain
wallet approximately three minutes before the UCA made a payment to
NameCheap at 23:18:18 UTC. Additiona1ly, as detailed above, the operating system


18 According to finance.yahoo.com, Bitpay is a Bitcoin payment service provider based in
Atlanta, Georgia. Bitpay is the largest Bitcoin payment processor in the world, and enables
businesses to accept payments in Bitcoin and Bitcoin Cash and send those funds directly to
a bank account.



                                            22
          Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 24 of 34 PageID #:24




associated with the above-referenced login to Blockchain.com matches the operating

system used by the UCA to log into Subject Account 8 (AWS IP) and the operating

system associated with MAHN's authentications to Company A's customer website.

       56. The funds that paid for the NameCheap account used in the spear-
phishing attack on Company A can be identified as originating from MAHN's

account at a virtual currency exchange named Coinbase ("Coinbase Account").

Specifically, according to Coinbase records, on or about December 21, 20l7,ts

MAHN initiated a transfer of .01 Bitcoin20 (BTC) from the Coinbase Account,

registered with Subject Account 7 (andrewmahn@gmail.com)21, to BTC address22

lGWVUSvdT4rG8XjNeYcRSVaAc4FlEmwWms                    ("BTC Address 1"). According to

Coinbase records, the two-factor authentication code for this transaction was sent to

the phone number 327-829-4141. According to Google subscriber records, 32I-829-




le According to Chainanalysis records, which are recorded in UTC, this transaction was
published to the blockchain in the morning hours of December 22, 2017 .
20 Based on my training and experience,      I know that BTC is a decentrahzed virtual
currency, which is circulated over the Internet, but which is not backed by a government.
BTC is supported by a peer-to-peer network. All transactions are recorded on BTC's public
Iedger, called the 'blockchain.'Although transactions are visible on the public ledger, each
transaction is only listed by a complex series of number that does not identify the
individuals involved in the transaction.
21 IVIAIIN's associationwith the Coinbase Account was identified during a review of emails
contained in Subject Account 7. Specifically, on June 2, 2018, MAHN received an email
from 'Coinbase' no-reply@coinbase.com at Subject Account 7 with subject line "A deposit for
$50.00 USD has been started." The following message appeared in the body of same email:
"Hi Andrew, On Saturday Jun 2,2018 you authorized Coinbase to fund your Stored Value
Account with $50.00 from your linked bank account. We have debited your linked bank
account accordingly."
22 Based on my training and experience,   I know that-like sending and receiving an email
via an email address, a user can send and receive BTC via a BTC address.



                                            23
        Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 25 of 34 PageID #:25




4141 is a Google Voice           number registered      to Subject Account
(andrewmahn@ gmail. com).

      57. Based on my training and experience, US-based exchanges require
customers to verifu their identities during account registration in an effort to

combat money laundering. In this case, according to Coinbase records, MAHN

submitted a photo of himself as well as his Massachusetts driver's license during

Coinbase Account creation, as excerpted below:




                                        24
        Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 26 of 34 PageID #:26




      58.    According to open source analysis of blockchain transactions

associated with BTC Address 1 analysis, the only deposit to BTC Address 1 was

from MAHN's Coinbase account for 0.01 BTC on December 22, 2017 . AIso according

to blockchain analysis, the 0.01 BTC remained unused in BTC Address 1 until
August 6, 2020, when .002456 BTC was transferred to a Bitpay address, namely

lP4w68FxTGFB5NZQ9Cbb6wR4yAgGFFTiVr              ("BTC Address 2"). According to

Bitpay records, the invoice ID associated with BTC Address 2 on that date,

FMgHZ132V6iBd327eX6LGn, was intended for the benefit of NameCheap and the

buyer's email was listed as mycircuits@protonmail.com.

      59. As detailed above, mycircuits@protonmail.com was used to register the
UCA NameCheap account and the Susan Hart Comcast account. A link chart

representation of the aforementioned virtual currency transactions, as well as

MAHN's connection to facilities associated with these transactions, appears below:




                                        25
        Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 27 of 34 PageID #:27




                       coinhase
                                      --rF,"i.nr-CU*ail
                                                  (r{Emrl
                     *-J**  I
                        trlftE




                       6
                      tfluHra-
                                                      ffi
                                                   ErrFalfrllolrll
                                                       hlrl

                            I                               I
                      !,ffirrt


                        bttD,,f,
                      ttrmlrS- -                   ffir.c
                                 \m                   /
                                                  /




                                      h*-m



         j. MAHN Purchased and Receiued Equipment at His Prior Residence
            Likely Employed to Create the Susan Hart Comcast Account

      60. Based on my review of emails received by MAHN using Subject
Account 7 in the days preceding the first observed days of UCA activity, my training

and experience, and information provided by other experienced FBI agents, MAHN

appears to have researched the provisioning of a second IP address at the Winthrop

Address and ordered the networking equipment necessary to create the Susan Hart

account using a preexisting Comcast connection.




                                             26
        Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 28 of 34 PageID #:28




      61. More specifically, according to Google search history records for
Subject Account 7 (andrewmahn@gmail.com), on JuIy 25, 2020 and July 27, 2020,

MAHN performed the following searches:

   o "comcast second wan port" on July 25,2020 at 15:10:40 UTC
   . "comcast additional ip" on July 25,2020 at 15:11:15 UTC
   . "comcast second wan port" on July 25,2020 at 15:21:29 UTC
   . "comcast second ip" on JuIy 27,2020 at 19:22:42 UTC
   . "second ip xfinity" on July 27,2020 at ].9:24:LB UTC
   . "comcast business account" on July 27,2020 at 19:25:43 UTC
      62. According to Subject Account 7 emails dated August 2, 2020 through
August 4, 2020 from ebay@ebay.com, MAHN ordered the following Internet

networking equipment to be delivered to the Winthrop Address:

   . Arris 586190 DOCSIS 3.0 Cable modem;
   . 2Way Digital lGhz High Performance Coax Cab1e Splitter; and
   o Motorola Signal Booster Broadband Drop Amp1ifier
      63. As detailed above, the use of the Comcast IP by the UCA during the
cyber attack was only captured by Company A's network logs on two occasions (in

September and October 2020) during the cyber attack, indicating the separate

Comcast account was created to provide an additional layer of obfuscation beyond

the use of VPN services like ProtonVPN and the above-referenced UCA
infrastructure re gistered with fake information.

          h. Subject Account 7 search history Supports MAHN Being the UCA
      64. As detailed above, the UCA stole a depot tool during the cyber attack
used to unlock features on Company A radios. According to Individual D, a Flexera-

developed sofbware license manager was used to manually license the Depot Tool

stolen by the UCA during the cyber attack. According to Individual D, on October



                                          27
         Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 29 of 34 PageID #:29




17, 2020, the UCA accessed Company A's Flexera server and registered seven

entitlements on a radio with a known serial number after licensing the Depot Tool

for nine years.

       65. According to Google search history for Subject Account 7
(andrewmahn@gmail.com), MAHN performed multiple searches using search terms

that referenced Flexera, Flexera-related tools, or Company A entitlements
registered using Flexera beginning on October 16, 2020-which was just one day

prior to the UCA s use of Flexera to register entitlements on a Company A device. A

subset of these searches follows:

   . On October 16, 2020 at 19:07:12 UTC, MAHN searched for "flexnet
       operations";
   o On October t6,2020 at 19:07:59 UTC, MAHN searched for "flexeratrral";
   . On October 16, 2020 at 19:15:02 UTC, MAHN searched for
     "FlexNetOperations_2020-R I installer.bin" ;
   o On October 16, 2020 at 19:57:10 UTC, MAHN searched for "flexnet
       makekey";
   . On October 16, 2020 at L9:57:34 UTC, MAHN searched for "FLEXIm
       Programmers Guide";
   o On October 16, 2020 at 20:01:16 UTC, MAHN searched for "Imcrypt manual";
   . On October 16, 2020 at 20:06:13 UTC, MAHN searched for "flexnet eid
       [Entitlement IDs]";
   o On Octboer L7, 2020 at 23:27:07 UTC, MAHN searched for "[Company A] cap
       max eid";
   .   On October L7, 2020 at 23,27:11 UTC, MAHN visited '[Company A] EID
       Reference Charts I North Georgia Communications';
   .   On November 14,2020 at 15:08:31 UTC, MAHN searched for "HLKN4463";
   .   On November 14, 2020 at 15:08:58 UTC, MAHN searched for "Canada full
       frequency range eid"; and
   . On November 15, 2020 at L4:44:2O UTC, MAHN searched for "flexera
       license.dat."

       66. As referenced above, MAHN's Flexera-related searches can be
correlated with the UCA s activity recorded in the EIS Logs. Additionally, one of the




                                         28
         Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 30 of 34 PageID #:30




searches listed above can also be correlated with searches appearing in the search

history for Subject Account 6 (the UCA Google account associated with Subject

Phone 1). Specifically, according to Google search history for Subject Account 6, on

October 13, 2020 at L7:24:59 UTC and 17:34:06 UTC, the UCA visited a website

titled 'Imcrypt security - Community -Flexera Community and a website titled
"HOW TO build your own Imcrypt - Wire Free Alliance,'respectively. On November

20, 2020, I navigated to one of the websites referenced above, namely 'Imcrypt

security - Community - Flexera Community,' which resolved to a Revenera2s

Community forum regarding the topic of "Imcrypt Security" and employees using

imcrypt to create unauthorized licenses.

       67. Lastly, as detailed above, according to Individual D, on October L7,
2020, the UCA accessed Company A's FlexNet server and registered seven

entitlements on a radio with a known serial number. On January 28, 2020,I viewed

the website visited by MAHN titled "[Company A] EID Reference Charts I North

Georgia Communications." This webpage contained a list of entitlements, or

Company A features, that could be unlocked on Company A communication devices.

          l. MAHN Searched for a Company A Employee's Name Six Minutes
              Before That Employee Receiued a Spear-Phishing Email from Subject
              Account 4

       68. As detailed in the Supplementary Logs, multiple Company A
employees began receiving spear-phishing emails from the UCA on August 7, 2020.

More specifically, orr August 7, 2020 at 0l:2O:25 UTC, no-reply@comm-[Company A


23 According to Revenera's   website, Flexera's Supplier Divrsron rs now named "Revenera."



                                              29
        Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 31 of 34 PageID #:31




abbreviation].com (Subject Account 4) sent the first known spearphishing email to a

Company A employee ("Individual F") at his Company A email address.

      69. According to Google search history for Subject Account 7
(andrewmahn@gmail.com), on August 7, 2020 at 01:14:51 UTC MAHN performed a

search for "[Individual F] [Company A]." Notably, MAHN performed this search just

six minutes before the UCA sent a spear-phishing email to Individual F's Company

A email address.

         m. MAHN Searched for Company A's Source Code Repository During the
            Spear-Phishing Campaign and After the Cyber Attach

      70. As detailed above, according to the EIS Logs, after gaining access to
Company A's network on September 28,2020, the UCA navigated to a Company A

source code repository and code management solution named Bitbucket. According

to Company A, the UCA s immediate navigation to Bitbucket, as opposed to
engaging in general reconnaissance and network enumeration, was indicative of the

UCA's familiarity with Company A's network.

      7I. According to Google search history for Subject Account 7
(andrewmahn@gmail.com), MAHN performed searches for Bitbucket and visited its

website on August 30,2020 and November 9,2020. Specifically, on August 30,2020,

MAHN searched for "bitbucket" at 16:31:35 UTC and visited a Bitbucket webpage,

https://bitbucket.org/product at 16:31:39 UTC. According to the Supplementary

Logs, as of August 30, 2020 the UCA was already engaged in a spear-phishing

campaign against Company A employees and was attempting to authenticate to

Company A's network using stolen credentials.



                                        30
              Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 32 of 34 PageID #:32




         72- Also according to Google search history for Subject Account 7, on
November 9, 2020, MAHN searched for "bitbucket" at L2:17:.59 UTC. Notably,

according to those records, immediately prior to searching for "bitbucket," MAHN

performed a search for "[Company A Device Family 2] system key" at 12:14:29 UTC.

According to Company A, the UCA exfiltrated source code related to Device Family

2 in addition to the Depot Tool.

              n. MAHN's Subject Account 7 Searches in the Days Preceding the Spear-
                 Phishing Campaign Reueal an Interest in Haching, Radio Seruice
                  Software, and UCA Infrastructure

         73. As detailed above, the UCA s spear-phishing campaign against
Company A Employees began on August 7,2020. As also detailed above, in the days

immediately preceding the receipt of spear-phishing emails by Company A

employees, MAHN conducted research regarding the acquisition of an additional

Comcast IP address and purchased equipment that could be used to register an

additional Comcast account at his residence.

         74. However, approximately one month before MAHN appeared to take
affi.rmative steps towards the procurement of infrastructure used in the cyber

attack, MAHN performed multiple searches that appear to show an interest in

hacking, data to be exfiltrated, and targets of a prospective hack. Some examples of

these searches from Subject Account 7 (andrewmahn@gmail.com) are excerpted

below:

   a     0711112020, 20:48:04 UTC - searched for "must watch hacker movies"
   a     07   llll2020, 20:48:\0 UTC - visited 'The Complete List of Hacker and
         Cybersecurity Movies'
         07111.12020, 20:51:37 UTC - searched for "must see hacker movies"




                                             31
         Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 33 of 34 PageID #:33




   .   0711312020,17:42:10 UTC - searched for "namecheap promo code"
   .   0712012020,17:37:27 UTC - searched for "radiosoftware [Company A] icom"
   .   0712012020,20:06:39 UTC - searched for "Radio service software -
       HackersRussia"
   .   O712112020,00:01:41 UTC - visited 'Index of /radiosoftware/[Company A]/ -
       RSWS'
   .   0712112020,00:08:52 UTC - visited 'fly6nlar<aqnn [Company A] - ]hy5
       .rno6nre.ner1 pa.qzocraulg:urir [Company A],' which machine translated to
       "Publications [Company A] - [Company A] Radio Club'
   .   0712112020,00:11:19 UTC - visited'HACKERSRUSSIA'S PUBLIC FTP'
   .   0712112020,00:12:10 UTC - visited'RADIOSOFTWARE RU: radio software
       download'
   .   0712412020,20:.06l.40 UTC - searched for "myview.[Company A].com"

       75. Notably, MAHN also searched for NameCheap (the domain provider
used by the UCA to spear-phish Company A employees and exfiltrate credentials

from Company A's network), and Company A's radio service software. As detailed

above, during the cyber attack the UCA exfiltrated Depot TooI software that could

be used to unlock features on Company A radios.




                                         32
        Case: 1:21-cr-00177 Document #: 1 Filed: 03/17/21 Page 34 of 34 PageID #:34




                                 CONCLUSION

      76. Based on the above information, I respectfully submit that there is
probable cause to believe that ANDREW I\{AHN did obtain information from a

protected computer without authorization, in violation of fitle 18, United States

Code, Section 1030(a)(2XC).


FURTHERAFFTAT\m SAYETH         Nor.                                 tl'tlE\

                                     DAMIEN COLON
                                     Special Agent
                                     Federal Bureau of Investigation


SWORN TO AND AFFIRMED by telephone March L7,2021.




                                       33
